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                      UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF OREGON

Ryan Payne and Victoria Sharp,                          )
Plaintiffs,                                             )
                                                        )
vs.                                                     )
W. Joseph Astarita, individually and                    ) No. 2:18-cv-165MO
in his official capacity as an agent of the FBI         )
Defendants 1X through 6x, individually and              )
in their official capacity as agents of                 )
the Oregon State Police, Greg T. Bretzing,              )
individually and in his capacity as                     )
an officer of the FBI, Defendants 7x through            )
12x, individually and in their official capacity       )
As officers of the FBI,                                )
                                                       )


     PLAINTIFFS’ RESPONSE TO SHOW-CAUSE ORDER REGARDING
               SERVICE UPON CERTAIN DEFENDANTS


      Plaintiffs Ryan Payne and Victoria Sharp hereby respond to the Court’s

Order (#89) regarding service of process upon defendants Mark McConnell, Kate

Brown, Dave Ward, Lucas McClain, Brian Neidham, and Steve Grasty.

      Plaintiffs state that they do not intend to serve or pursue allegations against

these named defendants at this time. Plaintiffs dismiss these named defendants

without prejudice.


RESPECTFULLY SUBMITTED,

/s/ Roger Roots
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CERTIFICATE OF ELECTRONIC SERVICE
I hereby certify that on April 8, 2019 I submitted the foregoing document to the
District Court’s electronic filing system, causing all parties to this case to be
notified and served.

By: /s/ Roger I. Roots
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